        Case 1:22-cr-00007-LKG Document 189 Filed 01/30/23 Page 1 of 1


      UNITED STATES DISTRICT COURT
        -------------DISTRICT OF MARYLAND-------------
                                  APPEARANCE


UNITED STATES OF AMERICA                         *

v.                                               *           Crim. No. LKG-22-0007

MARILYN J. MOSBY                                 *

                                                 *

                                   *    *    *       *   *   *

                              NOTICE OF APPEARANCE

To the Clerk of the Court and all parties of record:

       Please enter my appearance as counsel in the case for Marilyn J. Mosby. I certify

that I am admitted to practice in this Court.

                                            JAMES WYDA
                                            Federal Public Defender

                                                       /s/
                                            James Wyda (#25298)
                                            100 South Charles Street
                                            Tower II, 9th Floor
                                            Baltimore, Maryland 21201
                                            Telephone: (410) 962-3962
                                            Facsimile: (410) 962-3976
                                            Email: jim_wyda@fd.org


Date: January 30, 2023
